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 4 Telephone: (916) 554-2772
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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-131-TLN

12                                  Plaintiff,            STIPULATION AND ORDER CONTINUING
                                                          TRIAL CONFIRMATION HEARING DATE
13                           v.

14   JOSE MANUEL VALDEZ-TORRES, ET AL.,                   Court: Hon. Troy L. Nunley

15                                  Defendants.

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17

18          Whereas, plaintiff United States of America and each of the remaining defendants who are
19 parties to this stipulation desire additional time to allow them to attempt to resolve pretrial this

20 prosecution,

21          It is hereby stipulated and agreed by, and between, the United States, on the one hand, and
22 defendants Roberto Gomez, Leobardo Martinez-Carranza, Bradley Gene Ward, William James Welch,

23 Michael William McGibbon, and Jesus Humberto Zurita Sicairos, through their respective counsel that

24 the presently set June 15, 2017, trial confirmation hearing be continued to July 13, 2017, at 9:30 a.m.

25 DATED: June 13, 2017                                    PHILLIP A. TALBERT
                                                           United States Attorney
26
                                                           /s/ Samuel Wong
27                                                 By:
                                                           SAMUEL WONG
28                                                         Assistant United States Attorney

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 1 DATED: June 13, 2017
                                              /s/ Chris Cosca
 2                                      By:
                                              CHRIS COSCA
 3                                            Attorney for defendant
                                              Roberto Gomez
 4

 5 DATED: June 13, 2017

 6                                            /s/ Jesse Ortiz
                                        By:
 7                                            JESSE ORTIZ
                                              Attorney for defendant
 8                                            Leobardo Martinez-Carranza

 9
     DATED: June 13, 2017
10                                            /s/ Toni White
                                        By:
11                                            TONI WHITE
                                              Attorney for defendant
12                                            Bradley Gene Ward
13
     DATED: June 13, 2017
14                                            /s/ David Grow
                                        By:
15                                            DAVID GROW
                                              Attorney for defendant
16                                            William James Welch
17
     DATED: June 13, 2017
18                                            /s/ Dwight Samuel
                                        By:
19                                            DWIGHT SAMUEL
                                              Attorney for defendant
20                                            Michael William McGibbon
21
     DATED: June 13, 2017
22                                            /s/ Jeffrey Staniels
                                        By:
23                                            JEFFREY STANIELS
                                              Attorney for defendant
24                                            Jesus Humberto Zurita Sicairos
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              Case 2:15-cr-00131-TLN Document 240 Filed 06/21/17 Page 3 of 3


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 2
                                                       ORDER
 3
            Pursuant to stipulation of respective counsel for the parties, and good cause appearing therefrom,
 4
     the Court adopts the stipulation of the parties in its entirety as its ORDER.
 5
            It is ORDERED that the presently set June 15, 2017, trial confirmation hearing shall be
 6
     continued to July 13, 2017, at 9:30 a.m.
 7

 8
     DATED: June 13, 2017
 9
                                                               Troy L. Nunley
10
                                                               United States District Judge
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